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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
X Civil Action No.: 22-cv-1461

 

 

ROBERTO MATA (PKC)

Plaintiff,
-against-

AVIANCA, INC. AFFIDAVIT

Defendant(s)
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STATE OF NEW YORK
SS.:

COUNTY OF KINGS

PETER LoDUCA, being duly sworn states as follows:

1. That I am an attorney associated with the law firm of Levidow, Levidow & Oberman, P.C.
attorneys for the plaintiff herein, and do hereby declare that the foregoing is true and correct.

2. That pursuant to Court Order I have annexed copies of the following cases previously cited:

Varghese v. China Southern Airlines Co Ltd, 925 F.3d 1339 (11th Cir. 2019)

Shaboon v. Egyptair 2013 IL App (1st) 111279-U (Ill. App. Ct. 2013)

Petersen v. Iran Air 905 F. Supp 2d 121 (D.D.C. 2012)

Martinez v. Delta Airlines, Inc., 2019 WL 4639462 (Tex. App. Sept. 25, 2019)

Estate of Durden v. KLM Royal Dutch Airlines, 2017 WL 2418825 (Ga. Ct. App. June 5,
2017)

Ehrlich v. American Airlines Inc., 360 N.J. Super 360 (App. Div. 2003)

Miller v. United Airlines, Inc., 174 F.3d 366 (2d Cir. 1999)

In re Air Crash Disaster Near New Orleans, LA 821 F. 2d 1147, 1165 (5th Cir. 1987)

3.That I was unable to locate the case of Zicherman v. Korean Air Lines Co., Ltd, 516 F.3d
1237 (11th Cir. 2008) which was cited by the Court in Varghese.

4. That the opinions on the cases of Varghese v. China Southern Airlines Co Ltd, 925 F.3d
1339 (11th Cir. 2019), Shaboon v. Egyptair 2013 IL App (1st) 111279-U (Ill. App. Ct. 2013),
Petersen v. Iran Air 905 F. Supp 2d 121 (D.D.C. 2012), Martinez v. Delta Airlines, Inc.
2019 WL 4639462 (Tex. App. Sept. 25, 2019), Estate of Durden v. KLM Royal Dutch
Airlines, 2017 WL 2418825 (Ga. Ct. App. June 5, 2017) and Miller v. United Airlines, Inc.,

 
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174 F.3d 366 (2d Cir. 1999) may not be inclusive of the entire opinions but only what is
made available by online database.

5. That the opinion in Shaboon v. Egyptair 2013 IL App (1st) 111279-U (Ill. App. Ct. 2013)
is an unpublished opinion.

Dated: New York, New York
April 25, 2023

Poth de

PETER LoDUCA, ESQ.

 

Sworn to before me this

  
 
 

25" day of January 2023
“ STEVEN SCHWARTZ |
Notary Public, State of New York

CU rassteetion #025C4998539

T
y Qualified In New York County
| Commission Expires August 5, 20%
